

Ayangbesan v Finkelstein (2021 NY Slip Op 02217)





Ayangbesan v Finkelstein


2021 NY Slip Op 02217


Decided on April 08, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 08, 2021

Before: Webber, J.P., Mazzarelli, González, Mendez, JJ. 


Index No. 162328/15 Appeal No. 13556N Case No. 2020-03730 

[*1]Aderonke Ayangbesan, Plaintiff-Respondent,
vSeth Finkelstein, M.D., Defendant-Appellant.


Aaronson Rappaport Feinstein &amp; Deutsch, LLP, New York (Elliott J. Zucker of counsel), for appellant.
Law Office of Thomas Torto, New York (Thomas Torto of counsel), for respondent.



Order, Supreme Court, New York County (Joan A. Madden, J.), entered March 4, 2020, which denied defendant's motion to sever his statute of limitations defense from plaintiff's medical malpractice claims, unanimously affirmed, without costs.
The court providently exercised its discretion in denying defendant's motion for severance. Defendant failed to show that a bifurcated trial would be either a matter of convenience or prevent prejudice so to outweigh the disfavor for severance where, as here, the issues arise from a "common nucleus of facts" (Sichel v Community 
Synagogue , 256 AD2d 276, 276 [1st Dept 1998]; see  CPLR 603; Shanley v Callanan Indus. , 54 NY2d 52, 57 [1981]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 8, 2021








